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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION


SARAH E. DAY,                                  )
                                               )
               Plaintiff,                      )
                                               )
       v.                                      )       Cause No. 1:21-cv-00179-TWP-DLP
                                               )
UNITED STATES OF AMERICA,                      )
                                               )
               Defendant.                      )


                  PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff Sarah E. Day, by

counsel, hereby notifies the Court of her dismissal of the above-captioned action with prejudice,

the parties to the action to bear their own costs and fees.

                                                       Respectfully submitted:

                                                       RILEYCATE, LLC

                                                       /s/ Russell B. Cate
                                                       Russell B. Cate, Atty. No. 27056-29
                                                       William N. Riley, Atty. No. 14941-49
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                                CERTIFICATE OF SERVICE

       I hereby certify that on April 16, 2021, a copy of the foregoing was filed electronically.

Service of this filing will be made on all ECF-registered counsel by operation of the Court’s

electronic filing system. Parties may access this filing through the Court’s system:

                        Rachana N. Fischer, Rachana.Fischer@usdoj.gov
                               Assistant United States Attorney
                             Office of the United States Attorney


                                                     /s/ Russell B. Cate
                                                     Russell B. Cate

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